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                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 BUSINESS ADVISORS MD, LLC,                       §
                                                  §
                                                  §
      Plaintiff,                                  §      DISTRICT COURT CASE
                                                  §
                                                  §
 v.                                               §      NO. 3:21-CV-1451-BK
                                                  §
 NATURAL STATE GENOMICS, LLC,                     §
 SB HOLDINGS, LLC, PROVENCE23,                    §
 LLC, STEPHEN HARRISON, and                       §
 JEFFREY WEEKS,                                   §
                                                  §
                                                  §
                                                  §
      Defendants.
                                                  §


                         PLAINTIFF BUSINESS ADVISORS MD, LLC’S
                              FIRST AMENDED COMPLAINT

         Plaintiff Business Advisors MD, LLC (“Plaintiff” or “Business Advisors”) files this First

Amended Complaint against Defendants Natural State Genomics, LLC, SB Holdings, LLC,

Stephen Harrison, Jeffrey Weeks, and Provence23, LLC (collectively, “Defendants”).

                                  PRELIMINARY STATEMENT

         1.        This is a commercial debt collection suit to recover in excess of $2,000,000

pursuant to the terms of a medical billing service contract. Defendants failed to pay the outstanding

amounts owed under the contract and repudiated the Agreement by prematurely terminating the

contract and refusing to provide documentation necessary for Plaintiff to perform further services.

The outstanding amounts owed are personally guaranteed by the owners of the contracting

laboratory. Accordingly, Plaintiff brings its claims for breach of contract against the contracting




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laboratory and its owners for all outstanding amounts owed, in addition to late fees provided for

in the contract, attorneys’ fees, costs, and interest at the highest rate allowed by law.

                                   JURISDICTION & VENUE

       2.      Jurisdiction is proper in this Court because the amount in controversy is in excess

of $75,000 and because there is a complete diversity of citizenship between the parties. 28 U.S.C.

§1332(a).

       3.      Venue in this district is proper because all or a substantial part of the events giving

rise to the claims asserted herein occurred in Dallas County, Texas, and because Defendants

contractually agreed to venue in Dallas County, Texas.

                            PARTIES AND SERVICE OF CITATION

       4.      Business Advisors MD, LLC is a limited liability company organized and existing

under the laws of the State of Texas with its principal place of business at 6100 West Plano Pkwy,

Suite 3200, Plano, Texas 75093 and has otherwise appeared herein.

       5.      Natural State Genomics, LLC (“NSG”) is a limited liability company organized

under the laws of the State of Arkansas with its principal place of business located at 10809

Executive Center Drive, Suite 319, Little Rock, AR 72211. NSG has previously made an

appearance herein and service upon NSG’s counsel of record is sufficient service under the Federal

Rules of Civil Procedure.

       6.      SB Holdings, LLC is a limited liability company organized under the laws of the

State of Arkansas with its principal place of business located at 2211 Huntleigh Court, Little Rock,

AR 72212. SB Holdings, LLC, has previously made an appearance herein, and service upon SB

Holdings, LLC’s counsel of record is sufficient service under the Federal Rules of Civil Procedure.




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       7.       Provence23, LLC is a limited liability company organized under the laws of the

State of Arkansas with its principal place of business located at 5420 West Markham, Little Rock,

AR 72205. Provence23, LLC, has previously made an appearance herein, and service upon

Provence23, LLC’s counsel of record is sufficient service under the Federal Rules of Civil

Procedure.

       8.       Stephen Harrison is an individual and citizen of the State of Arkansas whose

address is 34 Margeaux Drive, Little Rock, AR 72223. Mr. Harrison has previously made an

appearance herein, and service upon Mr. Harrison’s counsel of record is sufficient service under

the Federal Rules of Civil Procedure.

       9.       Jeffrey Weeks is an individual and citizen of the State of Arkansas whose address

is 1535 Declaration Cove, Conway, AR 72034. Mr. Weeks has previously made an appearance

herein, and service upon Mr. Weeks’s counsel of record is sufficient service under the Federal

Rules of Civil Procedure.


                                             FACTS

             NSG ENGAGES BUSINESS ADVISORS TO PERFORM MEDICAL BILLING AND
                                   SUPPORT SERVICES.

       10.      Business Advisors is a medical billing and administrative support company.

Through years of experience in the medical billing and administrative support industry, Business

Advisors has developed effective and efficient methods and processes for providing medical and

laboratory billing, credentialing, coding, and other administrative support services to medical

providers. These methods and processes enable healthcare providers and laboratories to timely and

effectively bill and collect medical claims. Business Advisors employs a dedicated team of staff




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to service each client’s account, and has earned a sterling reputation in its industry and an “A+”

rating from the Better Business Bureau.

       11.      NSG is a privately owned laboratory that performs toxicology testing, genetic

testing, and molecular diagnostics for medical providers and their patients.

       12.      Stephen Harrison, Jeffrey Weeks, and Provence23, LLC are members and owners

of NSG, and SB Holdings, LLC, was a member and owner of NSG at all other relevant time

periods. Mr. Harrison, Mr. Weeks, Provence 23, LLC, and SB Holdings, LLC, are collectively

referred to herein as the “NSG Owners.”

       13.      On February 1, 2020, NSG and Business Advisors entered into a Service

Agreement wherein NSG agreed to pay Business Advisors to handle all medical claim processing,

billing, collection, and administrative support services for NSG (the “NSG Agreement” or the

“Agreement”).

       14.      Under the terms of the Agreement, NSG agreed to provide Business Advisors with

the documentation needed to process all of their medical claims and handle billing and collections.

In turn, Business Advisors agreed to enter patient demographics, process medical claims, process

and submit claims to insurance companies, follow-up on rejections or denials, post insurance

payments, and generate patient statements using NSG’s web-based billing system.

       15.      The Agreement provided for an initial term of 180-days from the date of execution.

On the last calendar day of the final month of the term (the “Renewal Date”), the Agreement

automatically renewed for successive 180-day periods unless Business Advisors received written

notice of termination at least 60-days prior to the Renewal Date. The Agreement further provide

that NSG is responsible for payment of the monthly billing fees for one month following the end

of the term of the Agreement.




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       16.     Under the terms of the Agreement, NSG agreed to pay Business Advisors 6% of

monthly collections (from insurance and patients) on all medical claims. NSG also agreed to pay

Business Advisors a $100 per day late fee on each monthly payment not received by the 10th day

of the month. NSG further agreed, unconditionally, to pay Business Advisors its monthly fees

through the end of the fixed term of the Agreement. Where actual monthly collection amounts

were not available, NSG agreed to pay Business Advisors the average monthly fee calculated from

the prior three months.

       17.     The NSG Owners guaranteed all payments under the terms of the NSG Agreement.

             NSG BREACHES THE AGREEMENT AND DEFENDANTS FAIL TO PAY THE
                            OUTSTANDING AMOUNTS OWED.

       18.     Business Advisors and NSG performed under the Agreement during the initial 180-

day term and a 180-day second term.

       19.     Business Advisors did not receive written notice of termination of the Agreement

60-days in advance of the Renewal Date for the third 180-day term.

       20.     On February 1, 2021, the NSG Agreement automatically renewed for a third 180-

day term. Pursuant to the NSG Agreement, the third term ends July 31, 2021, and NSG and the

NSG Owners are responsible for payment of monthly fees through August 30, 2021.

       21.     On February 22, 2021, after the Agreement had already renewed for a third term,

Stephen Harrison, on behalf of NSG, emailed Business Advisors written notice to terminate the

Agreement (the “Termination Notice”) purporting to terminate the Agreement effective February

28, 2021.

       22.     On February 24, 2021, Business Advisors acknowledged receipt of the Termination

Notice, but made clear to NSG that under the terms of the Agreement, the Termination Notice did

not terminate the Agreement as of February 28, 2021, or any other arbitrary date unilaterally


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selected by NSG. Rather, pursuant to the Termination Notice, the Agreement would not renew for

a fourth term.

       23.       Despite Business Advisors’ response, and contrary to the terms of the Agreement,

NSG thereafter stopped paying Business Advisors amounts due and owing under the Agreement

and stopped performing all of their obligations under the Agreement.

       24.       Specifically, NSG defaulted on its obligation to pay Business Advisors for monthly

fees due and owing for April and May 2021.

       25.       As of April 1, 2021, NSG has failed and refused to provide Business Advisors with

any medical claims documentation needed in order for Business Advisors to process the medical

claims and tender performance under the Agreement. Business Advisors, on numerous occasions,

followed up with NSG on the same, but received no response or communication whatsoever.

       26.       Accordingly, on April 19, 2021, Business Advisors sent NSG written notice of its

material breach of the Agreement and demand for payment and performance assurances. Business

Advisors made clear that it employs a dedicated team of staff to service NSG under the Agreement

in reliance on the agreed, fixed term of the Agreement. Business Advisors re-iterated to NSG that,

under the terms of the Agreement, NSG unconditionally agreed to pay Business Advisors through

the end of the third term notwithstanding Business Advisor’s inability to render services under the

Agreement due solely to NSG’s non-performance.

       27.       NSG and the NSG Owners owe Business Advisors monthly fees through the end

of the NSG Agreement (i.e., third term) of approximately $2,084,300.00, plus late fees on each

outstanding monthly payment accruing at $100/day.




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                                      CAUSES OF ACTION

             COUNT I: BREACH OF CONTRACT AGAINST NSG AND THE NSG OWNERS

       28.      Business Advisors hereby incorporates the factual allegations set forth in the above

paragraphs as if fully set forth herein.

       29.      The NSG Agreement is a valid and enforceable contract.

       30.      Business Advisors has performed all conditions precedent, covenants, and promises

required of it under the terms and conditions of the NSG Agreement. Business Advisors rendered

all services and performed all labor associated with the terms of the NSG Agreement and business

dealings between Business Advisors and NSG.

       31.      As described above, NSG breached the NSG Agreement by failing to pay Business

Advisors monthly fees due and owing under the NSG Agreement. NSG further breached the NSG

Agreement by failing and refusing to perform its obligations under the NSG Agreement, including,

among other things, failing to pay the outstanding amounts due thereunder, repudiating the NSG

Agreement, and refusing to send Business Advisors documentation for the processing of any

medical claims on and after April 1, 2021.

       32.      On April 19, 2021, Business Advisors provided NSG written notice of its material

breach of the Agreement and demand for payment and performance assurances. Under the terms

of the NSG Agreement, NSG unconditionally agreed to pay Business Advisors through the end of

the third term and the following month notwithstanding Business Advisor’s inability to render

services under the NSG Agreement due solely to NSG’s wrongful repudiation and non-

performance.

       33.      Despite Business Advisors’ written notice and demand for performance assurance,

NSG has failed to perform, failed to provide adequate assurance of future performance, and failed

to pay Business Advisors pursuant to the terms of the NSG Agreement.


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       34.     Similarly, the NSG Owners personally guaranteed the amounts owed to Business

Advisors by NSG under the Agreement, but have failed to pay the outstanding amounts owed.

       35.     As a direct and proximate result of NSG’s breaches and repudiation of the

Agreement, Business Advisors has suffered actual damage of $2,084,300 in monthly fees owed

under the Agreement, in addition to the contractual late fees in the amount of $100 per day, all

attorneys’ fees and costs incurred, and prejudgment interest on the outstanding amount owed.

       36.     Because Business Advisors’ claims are for, among other things, services rendered,

labor performed, and breach of contract, and Business Advisors has been required to retain the

undersigned attorneys to prepare, file, and prosecute this suit, Business Advisors has incurred, and

will further incur, costs in connection with the prosecution of this suit, including attorneys’ fees

and other costs. Business Advisors has presented it claim for payment. As such, Business Advisors

is entitled to recover any and all reasonable attorneys’ fees and costs, pursuant to CHAPTER 38 of

the TEX. CIV. PRAC. & REM. CODE. Business Advisors is also entitled to recover all attorneys’ fees

and costs incurred to collect the outstanding amount owed pursuant to the terms of the NSG

Agreement, which provides for the recovery of all attorneys’ fees and costs incurred to collect the

outstanding amount owed. Business Advisors also requests it be awarded all lawful pre-judgment

and post-judgment interest.

             COUNT II: QUANTUM MERUIT AGAINST NSG AND THE NSG OWNERS

       37.     In the alternative to Count I, Business Advisors hereby incorporates the factual

allegations set forth in the above paragraphs as if fully set forth herein.

       38.     NSG and the NSG Owners promised to pay Business Advisors for performing the

services identified in the NSG Agreement for a fixed period of time, and Business Advisors relied

on the promise of NSG and the NSG Owners. With the reasonable expectation that NSG and the

NSG Owners would perform their obligations under the NSG Agreement and pay Business


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Advisors for the services rendered and labor performed for the agreed period of time, Business

Advisors performed the services identified in the NSG Agreement and employed a dedicated team

of staff to perform such services under the NSG Agreement.

       39.     The services rendered, labor performed, and materials furnished to NSG and the

NSG Owners by Business Advisors were valuable and conveyed a benefit to NSG and the

NSG Owners. Business Advisors has not been compensated for the services rendered, labor

performed, and materials furnished to NSG and the NSG Owners, and has therefore been damaged.

       40.     Business Advisors is entitled to recover the reasonable value of the services

rendered, labor performed, and materials furnished by Business Advisors for NSG and the NSG

Owners. Business Advisors is also entitled to disgorge any profits or other unjust enrichment NSG

and the NSG Owners have received from the valuable services rendered, labor performed, and

materials furnished by Business Advisors, including all revenue generated by NSG based in whole

or in part on Business Advisors’ acts. Additionally, Business Advisors is entitled to recover any

and all reasonable attorneys’ fees and costs, pursuant to CHAPTER 38 of the TEX. CIV. PRAC. &

REM. CODE, and Business Advisors also requests it be awarded all lawful pre-judgment and post-

judgment interest.

                                 CONDITIONS PRECEDENT

       41.     All conditions precedent to Business Advisors’ claims for relief have been

performed or have occurred.

                                         BENCH TRIAL

       42.     Business Advisors hereby requests a bench trial of all issues set forth in this

Complaint and all issues that may hereafter arise in this action.




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                                        ATTORNEYS’ FEES

        43.     Business Advisors is entitled to recover its reasonable and necessary attorneys’ fees

under the Agreement as well as under CHAPTER 38 of the TEX. CIV. PRAC. & REM. CODE.

                                      REQUEST FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that Defendants be cited to appear and

answer, and that this Court enter a judgment in Plaintiff’s favor and against Defendants, providing

for relief, as follows:


                (1)       Judgment, jointly and severally, against NSG and the NSG Owners in the
                          amount of $2,084,000.00, plus $100 per day in late charges, and all other
                          damages in an amount to be determined at trial;

                (2)       Prejudgment and post-judgment interest at the highest lawful rate;

                (3)       All attorneys’ fees and costs allowed by law; and

                (4)       Such further relief as the Court may deem appropriate and which Plaintiff
                          may be entitled.



                                                Respectfully submitted,



                                                /s/ Jamie R. Welton________________
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                                                ATTORNEYS FOR PLAINTIFF
                                                BUSINESS ADVISORS MD, LLC



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                              CERTIFICATE OF SERVICE

       I hereby certify that on September 24, 2021, the foregoing First Amended Complaint was
forwarded to counsel for Defendants through the ECF filing system.



                                           /s/ Jamie R. Welton
                                           Jamie R. Welton




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